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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SECURITIES AND EXCHANGE                        §
 COMMISSION,                                    §
                                                §
                  Plaintiff,                    §
                                                §
 v.                                             §      Civil Action No. 3:18-CV-1748-L
                                                §
 NELSON MOLINA,                                 §
                                                §
                  Defendant.                    §


              FINAL JUDGMENT AS TO DEFENDANT NELSON MOLINA

       The court issues this Final Judgment pursuant to its Order, filed earlier today, and the

parties’ settlement agreement, in favor of the Securities and Exchange Commission and against

Nelson Molina (“Defendant”) as follows:

                                                I.

         SECTION 10(b) OF THE SECURITIES EXCHANGE ACT OF 1934 AND
                          EXCHANGE ACT RULE 10b-5

       It is hereby ordered, adjudged, and decreed that Defendant is permanently restrained and

enjoined from violating, directly or indirectly, Section 10(b) of the Securities Exchange Act of

1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder

[17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate commerce, or of the

mails, or of any facility of any national securities exchange, in connection with the purchase or

sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;




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        (b)    to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

        (c)    to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

        It is further ordered, adjudged, and decreed that, as provided in Federal Rule of Civil

Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual notice of

this Final Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

employees, and attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                                II.

                          DISGORGEMENT AND CIVIL PENALTY

        It is further ordered, adjudged, and decreed that Defendant is liable for disgorgement of

$78,460, representing ill-gotten gains as a result of the conduct alleged in the Complaint, together

with prejudgment interest thereon in the amount of $1,564, for a total of $80,024. Defendant shall

also pay a civil penalty in the amount of $39,230 to the Securities and Exchange Commission

pursuant to Section 21A of the Exchange Act [15 U.S.C. § 78u-1]. Defendant shall satisfy this

obligation by paying a total of $119,254 to the Securities and Exchange Commission within 30

days after entry of this Final Judgment.

        Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from      a   bank      account     via     Pay.gov     through      the    SEC      website      at

http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank



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cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this court; Nelson Molina as a defendant in this action; and specifying that payment is made

pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part of

the funds shall be returned to Defendant.

       The Commission may enforce the court’s judgment for disgorgement and prejudgment

interest by moving for civil contempt (or through other collection procedures authorized by law)

at any time after 30 days following entry of this Final Judgment. Defendant shall pay postjudgment

interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

                                                 III.

                                            CONSENT

       It is further ordered, adjudged, and decreed that the Consent is incorporated herein with

the same force and effect as if fully set forth herein, and that Defendant shall comply with all of

the undertakings and agreements therein set forth.




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                                                IV.

                        BANKRUPTCY NONDISCHARGEABILITY

       It is further ordered, adjudged, and decreed that, solely for purposes of exceptions to

discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the allegations in the

complaint are true and admitted by Defendant, and further, any debt for disgorgement,

prejudgment interest, civil penalty or other amounts due by Defendant under this Final Judgment

or any other judgment, order, consent order, decree or settlement agreement entered in connection

with this proceeding, is a debt for the violation by Defendant of the federal securities laws or any

regulation or order issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy

Code, 11 U.S.C. §523(a)(19).

                                                V.

                               RETENTION OF JURISDICTION

       It is further ordered, adjudged, and decreed that this court shall retain jurisdiction of this

matter for the purposes of enforcing the terms of this Final Judgment.

                                                VI.

                              WAIVER OF RIGHT TO APPEAL

       Defendant has waived any right to appeal from this Final Judgment.

       Signed this 31st day of July, 2018.



                                                      _________________________________
                                                      Sam A. Lindsay
                                                      United States District Judge




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